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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


JOHN DOE,

      Plaintiff,

vs.                                            Case No. 4:22cv241-AW-MAF

FLORIDA DEPARTMENT OF
LAW ENFORCEMENT,

     Defendant.
_________________________/


                                  ORDER

      Plaintiff, proceeding pro se, initiated this case on July 5, 2022, ECF

No. 1, and sought to proceed with the use of a pseudonym, John Doe.

ECF No. 4. Plaintiff has now filed a motion, ECF No. 7, seeking to amend

the complaint and add a Defendant.

      An Order, ECF No. 6, was entered on July 15, 2022, just prior to

Plaintiff’s filing of the instant motion. The Order denied Plaintiff’s request to

proceed as a “John Doe” plaintiff and required him to file an “amended

complaint” in his legal name. Because Plaintiff has been required to file an

amended complaint, Plaintiff’s motion to amend, ECF No. 7, is denied as
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moot. Notwithstanding, Plaintiff may add any person as a Defendant in this

case if there is a factual and legal basis to do so, and if the claims brought

against all Defendants share “any question of law or fact” as required by

Rule 20, Federal Rules of Civil Procedure.

      Accordingly, it is

      ORDERED:

      1. Plaintiff’s motion for leave to amend, ECF No. 7, is DENIED as

moot.

      2. Plaintiff has until August 15, 2022, in which to file an amended

complaint as previously directed. ECF No. 6.

      3. Failure to file the amended complaint as directed will result in

a recommendation of dismissal of this action.

      4. The Clerk of Court shall return this file upon receipt of Plaintiff’s

amended complaint, or no later than August 15, 2022.

      DONE AND ORDERED on July 19, 2022.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE



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